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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

ANTHONY GOINS,                         )
                                       )
      Plaintiff,                       )
                                       )      [Removed from Forsyth County
vs.                                    )      State Court, Civil Action File No.
                                       )      22SC-1943-B]
WAL-MART STORES EAST, LP,              )
                                       )
Defendant.                             )

              DEFENDANT WAL-MART STORES EAST, LP’S
                CORPORATE DISCLOSURE STATEMENT

      COMES NOW, Defendant Wal-Mart Stores East, LP, through its

undersigned counsel of record, and, pursuant to Fed. R. Civ. P. 7.1 and to Local

Rule 87.1, hereby discloses the following:

      Defendant WAL-MART STORES EAST, LP is a Delaware limited

partnership, of which WSE Management, LLC is the only general partner, and

WSE Investment, LLC is the only limited partner. The sole member of WSE

Management, LLC and of WSE Investment, LLC is Wal-Mart Stores East, LLC,

and the sole member of Wal-Mart Stores East, LLC is Walmart Inc. Walmart Inc.

is a Delaware corporation with its principal place of business in the State of

Arkansas, and it was not a citizen of the State of Georgia at the time of or

immediately prior to the filing and service of this lawsuit or at any time thereafter.
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The principal place of business for all entities mentioned in this paragraph is 708

SW 8th Street, Bentonville, AR 72716.



      Respectfully submitted this 09 of January, 2023.


                                            WALDON ADELMAN CASTILLA
                                            HIESTAND & PROUT

                                            /s/ Matthew J. Hurst
                                            Hilliard V. Castilla
                                            Georgia Bar No. 116123
                                            Matthew J. Hurst
                                            Georgia Bar No. 480267
                                            Attorneys for Wal-Mart Stores East,
                                            LP.

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      The undersigned counsel certifies that the foregoing Defendant Wal-Mart

Stores East, LP's Corporate Disclosure Statement has been prepared with one of

the font and point selections approved by the court in LR 5.1B.

                                            /s/ Matthew J. Hurst
                                            Matthew J. Hurst
